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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-61009-CIV-SMITH

 EDGAR QUINTERO,

         Plaintiff,
 vs.

 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC.,

         Defendant.
                                                    /

                             ORDER AFFIRMING AND ADOPTING
                              REPORT OF MAGISTRATE JUDGE

         This matter is before the Court upon the Magistrate Judge’s Report and Recommendation

 [DE 23]. In the Report and Recommendation, the Magistrate Judge recommends dismissing the

 action for Plaintiff’s failure to prosecute.

         On October 3, 2022, the Court granted Plaintiff's counsel Motion to Withdraw and ordered

 that, by October 19, 2022, Plaintiff either retain new counsel (who was required to file a Notice of

 Appearance) or file a Notice that Plaintiff intends to proceed without counsel. See DE 20. The

 Court also advised that "[f]ailure to timely comply with this Order may result in a recommendation

 to the District Judge that the case be dismissed for lack of prosecution." Id. On November 7, 2022,

 Defendant filed a Notice of Plaintiff’s failure to comply with the Court's order. On November 17,

 2022, the Magistrate Judge, after noting that Plaintiff was still non-compliant recommended that

 this action be dismissed with prejudice for Plaintiff’s failure to prosecute. See DE 23. Pursuant to

 the Local Rules for the United States District Court, Southern District of Florida, the Magistrate

 Judge ordered “[w]ithin 14 days after being served with a copy of this Report and
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 Recommendation, any party may serve and file written objections to . . . findings and

 recommendations.” Id. (citing 28 U.S.C. § 636(b)(1); S.D. Fla. Mag. R. 4(b).)

        Neither party has filed Objections to the Magistrate Judge’s Report and Recommendation.

 Having reviewed, de novo, the Magistrate Judge’s Report and Recommendation to District Judge

 and the record, and given that Plaintiff has filed no Objections, it is

        ORDERED that:

    1) The Report and Recommendation to District Judge [DE 23] is AFFIRMED and

        ADOPTED and incorporated by reference into this Court’s Order.

    2) Plaintiff’s Complaint is DISMISSED without prejudice.

    3) All pending motions not otherwise ruled on are DENIED as moot.

    4) This case is CLOSED.

        DONE and ORDERED in Fort Lauderdale, Florida, this 2nd day of December 2022.




 cc: Counsel of record
